Reference is made to the memorandum in case No. 273* filed simultaneously in which the defendant George J. Rood is party plaintiff and the plaintiff herein is party defendant.
The court finds that the debt owing by the defendant George J. Rood (owner of the equity) to the plaintiff is in the amount of $100.
The court finds that the plaintiff did not act in good faith in refusing the earlier tender by the defendant Rood of the $100 representing the debt in question; that she is not before the court with "clean hands."
Accordingly, the plaintiff is not entitled to a judgment of foreclosure if the defendant Rood, through his counsel, mails a certified check of $100 to plaintiff's counsel, but payable to plaintiff. See last paragraph of memorandum in case No. 273; and see, in general, Boretz vs. Segar, 124 Conn. 320, 323-324.
   Upon notification by counsel for defendant Rood of compliance with direction in case No. 273